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                                          Exhibit B
                                                                                                                                                              FILED
                                                                                                                                                  DALLAS COUNTY
                                                                                                                                               8/19/2015 4:27:04 PM
                        Case 3:16-cv-02396-K Document 1-4 Filed 08/17/16                                 Page 2 of 21 PageID 17                      FELICIA PITRE
                                                                                                                                                  DISTRICT CLERK

                                                                                                                                                 Tonya Pointer
                                                                                      DC-15-09508
                                                                    CAUSE NO. _ _

                   GEORGE THOMPSON                                               §     IN THE DISTRICT COURT
                   Plaintiff,                                                    §
                                                                                 §
                   v.                                                            §               JUDICIAL DISTRICT
                                                                                 §
                   KARLA ANN KOEPF                                               §
                   Defendant.                                                    §     DALLAS COUNTY, TEXAS


                                PL'A"INTIFF'S 0RIGIN":A:"LPETITION~..t""NDllEOUESTCFOR
                                                 0

                          ---                                                                                      DISCOVERY

                   TO THE HONORABLE JUDGE OF SAID COURT:

                                NOW COMES GEORGE THOMPSON, hereinafter called Plaintiff, complaining of and

                   about KARLA ANN KOEPF, hereinafter called Defendant, and for cause of action shows unto

                   the Court the following:

                                                     DISCOVERY CONTROL PLAN LEVEL

                                I.      Plaintiff intends that discovery be conducted under Discovery Level 3.

                                                               PARTIES AND SERVICE

                                2.      Plaintiff, GEORGE THOMPSON, is an Individual who resides in Dallas, Dallas

                   County, Texas.

                                3.      The last three numbers of GEORGE THOMPSON's social security number are

                   789.

                                4.      Defendant KARLA ANN KOEPF, an Individual who is a resident of Texas, may

                   be served with process at her home at the following address: 609 Carriage House Lane, Apt. C7,

                   Garland, Texas 75040, or wherever she may be found. Service of said Defendant as described

                   above can be effected by personal delivery.

                                                            JURISDICTION AND VENUE
                                --- - - - · - · - - - -
---~-----"-·~--'-TJ.lb.,_e-'"s1w1h-'l'ge"'c01-tnm-"'awtt,.er,__iwn_._c;uo_u_ntuuroYersy~s"'Within the jurisdictional   limits of this court.


                   Plaintiffs Original Petition and Reguest,,fo,,_.r_.D"--'i"sc,._,o,_,v'-"e"'rY.1_ _ _ _ _ __               _ _ _,P.ag:"-'-----
                      Case 3:16-cv-02396-K Document 1-4 Filed 08/17/16                            Page 3 of 21 PageID 18


                             6.       Plaintiff seeks:

                                      a.         monetary relief over $200,QOO but not more than $1,000,000.

                             7.       This court has jurisdiction over the parties because Defendant is a Texas resident.

                             8.       Venue in Dallas County is proper in this cause under Section 15.002(\l)(i) of the

                   Texas Civil Practice and Remedies Code because all or a substantial part of the events or

                   omissions giving rise to this lawsuit occurred in this county.
~~~~~~~~~




                                                                          FACTS

                            9.        On or about May 31, 2015 Plaintiff was a passenger m <\ vehicle traveling

                   eastbound on Bucking ham Road when Defendant failed to stop at a red light and collided with

                   Plaintiffs vehicle. Defendant was driving while intoxicated and arrested at the scene. The

                   damages were proximately caused by the negligence of Defendant as follows:


                                                       PLAINTIFF'S
                                      CLAIM OF NEGLIGENCE AGAINST KARLA ANN KOEPF

                             10.      Defendant KARLA ANN KOEPF had a duty to exercise the degree of care that a

                   reasonably careful person would use to avoid harm to others under circumstances similar to those

                   described herein.

                            11.       Plaintiffs mJunes were proximately caused by Defendant KARLA ANN

                   KOEPF's negligent, careless and reckless disregard of said duty.

                            12.       The negligent, careless and reckless disregard of duty of Defendant KARLA

                   ANN KOEPF consisted of, but is not limited to, the following acts and omissions:

                                      A.        In that Defendant KARLA ANN KOEPF failed to keep a proper lookout
                                                for Plaintiffs safety that would have been maintained by a person of
                                                ordinary prudence under the same or similar circumstances;

                                      B.        In that Defendant -KA:RI:,?.-A'NN-KOEPF-fa:iled To-yielU-as a person of
~~-~-~--~-~----~-------·µprLl1"'1d,.e"'n:Lcare...would have ..done;



------"-P.:.::la"'i'"'rt~ti~ff~s~~Ori,ginal   Petition and Reg_,1,Ju~eil.st~f!-"o!!r-'D"-'i'-"ls).,:co"-v~e"'rc.)}'.<-------------_..-age2 _ _ _ _ __
                      Case 3:16-cv-02396-K Document 1-4 Filed 08/17/16                        Page 4 of 21 PageID 19




 ----------G.                                   In-that-Befendant-~RI:;A-ANN-K:0EPF-was-operating-the-motor-vehicle
                                                at a rate of speed which was greater than that would have been operated by
                                                a person of ordinary prudence under the same or similar circumstances;

                                      D.        In that Defendant KARLA ANN KOEPF failed to apply the brakes to the
                                                motor vehicle in a timely and prudent manner and wholly failed to apply
                                                the brakes in order to avoid the collision in question;

                                      E.        In that Defendant KARLA ANN KOEPF failed to stop at an Official-
                                                Traffic Control Device;

                                      F.        In that Defendant KARLA ANN KOEPF failed to stop, yield, and grant
                                                immediate use of the intersection to Plaintiffs motor vehicle after it had
                                                entered the intersection to conform to the Official Traffic-Control ;

                                      G.        In that Defendant KARLA ANN KOEPF was driving while intoxicated.


                                                        MALICE AND EXEMPLARY DAMAGES

                             The wrong done by Defendant was aggravated by the kind of gross negligence, malice,

                   and callous disregard for which the law allows the imposition of exemplary damages. The

                   conduct of the Defendant, when viewed objectively from the standpoint of Defendant at the time

                   of the conduct, involved an extreme degree ofrisk, considering the probability and magnitude of

                   the potential harm to others, and the Defendant were actually, subjectively aware of the risk

                   involved, but nevertheless proceeded with conscious indifference to the rights, safety, or welfare

                   to others. The Defendant's acts of omission and commission, which collectively and severally

                   constituted malice, were a proximate cause of the injuries and damages suffered by the Plaintiff.

                   As such, Plaintiff seeks exemplary damages in an amount to be determined by a jury.


                                           DAMAGES FOR PLAINTIFF, GEORGE THOMPSON

                            13.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

                   Plaintiff, GEORGE THOMPSON was caused to suffer bodily injury, and to incur the following

  ··------9:~ag~: -                                                                                           -------- - - - -




_ _ _ _ __,_P,,,,la,,,i"'n'"'ti"'ff'-'s"-.=-=.Ori,ginal Petition and Request for Discovery:                        _age-3, _ _ _ __
                 Case 3:16-cv-02396-K Document 1-4 Filed 08/17/16                 Page 5 of 21 PageID 20



                                 A.     Reasonable medical care and expenses in the past. These expenses were
                            - -- ----incurred-by-Plaintiff;-GEGRGE- THOMPSON for the-necessary-care-am1----
                                        treatment of the injuries resulting from the accident complained of herein
                                        and such charges are reasonable and were usual and customary charges for
                                        such services in Dallas & Tarrant County, Texas;

                               B.      Reasonable and necessary medical care and expenses which will in all
                                       reasonable probability be incurred in the future;

                               C.      Physical pain and suffering in the past;



                               E.      Physical impairment in the past;

                               F.      Physical impairment which, in all reasonable probability, will be suffered
                                       in the future;

                               G.      Loss of earnings in the past;

                               H.     Loss of earning capacity which will, in all probability, be incurred in the
                                      future;

                              I.      Disfigurement in the past;

                               J.     Disfigurement in the future;

                              K.      Mental anguish in the past; and

                              L.      Mental anguish in the future.


                                               PAST AND FUTURE DAMAGES

                      All damages mentioned in the above paragraphs are in the past and future where
              applicable.

                                                      RULE 193,7 NOTICE

                              Pursuant to rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby

              gives notice that any and all documents produced by either Plaintiff or Defendant may be used at

              any pretrial proceeding or at a trail of this matter.




------=-P-"la'"'i""n""'ti"'ff'"'s~O~ri_ginal Petition and Reg uest for Di_s_i:_O_\Lery:_ _ _ _ _ _ _ _ _ _ _ _ P-age-4------
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                                      PLAINTIFF'S REQUEST FOR DISCOVERY

                                                   Request for Disclosure

                     Defendant is hereby requested to disclose, within fifty (50) days of service of this petition

             and incorporated request, the information or material described in Rule 194.2(a)-(i) of the Texas

             Rules of Civil Procedure, to the undersigned counsel of record for Plaintiff.

                                                       Interrogatories

                     Defendant is hereby requested to answer, within fifty (50) days of service this petition

             and incorporated request, the interrogatories attached hereto as "Exhibit A," separately, fully, in

             writing, and under oath, pursuant to Rule 197 of the Texas Rules of Civil Procedure, to the

             undersigned counsel of record for Plaintiff.

                                                  Request for Production

                     Defendant is hereby requested to produce, within fifty (50) days of service of this petition

             and incorporated request the documents and tangible items in the list attached hereto as "Exhibit

             B," pursuant to Rule 196 of the Texas Rules of Civil Procedure, to the undersigned counsel of

             record for Plaintiff.

                                                  Request for Admissions

                     Defendant is hereby requested to admit or deny, in writing, within (50) days of service of

             this petition and incorporated request, the propositions of fact and/or law attached hereto as

             "Exhibit C," pursuant to Rule 198 of the Texas Rules of Civil Procedure, to the undersigned

             counsel of record for Plaintiff.

                                                            PRAYER

                     WHEREFORE, PREMISES CONSIDERED, Plaintiff, GEORGE THOMPSON,

----~      - respectfully-prays that the Defendant-be-citedto-appeacana-answer herein, and lliafupcin a-final -



_ _ _ _ _ _P_la_i_n_ti_ff_s_O_ri,ginal Petition and Reguest for DiscoverJ.______________p,_a"ig,,.e.,_,5.------
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     hearing of the cause, judgment be entered for the Plaintiff against Defendant for damages in an
.   "-·---------------
     amount within the jurisdictional limits of the Court; together with pre-judgment interest (from

     the date of injury through the date of judgment) at the maximum rate allowed by law; post-

     judgment interest at the legal rate, costs of court; and such other and further relief to which the

     Plaintiff may be entitled at law or in equity.



                                                       GODSEYL


                                                      By: --1---+----'------'(,L.,.t-------
                                                      Ryan . ogers
                                                      Texas Bar No. 2401120
                                                      Email: rrogers@gmfi .com
                                                      Eservice: GMLIT@gmfinn.com
                                                      Paralegal: hteer@gmfirrn.com
                                                      1909 Woodall Rodgers Freeway, Suite 200
                                                      Dallas, TX 75201
                                                      Tel. (214) 744-3339
                                                      Fax. (972) 301-2444
                                                      Attorney for Plaintiff
                                                      GEORGE THOMPSON




                                                                            - - - - - - -- - -   -------------




     Plaintiffs Original Petition and   Regu~t   for   Di~coveJ:Y._ _ _ _ _ _ _ _ _ _ __.:age__o__ _ _ __
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                                          "EXHIBIT A"

                   PLAINTIFF'S REQUEST FOR INTERROGATORIES
                                 TO DEFENDANT
                         DEFINITIONS AND INSTRUCTIONS

       I.      As used herein, the terms "you" and "your" shall refer to Karla Ann Koepf,
"Defendant's" attorneys, agents, and all other natural persons or business or legal entities acting
or purporting to act for or on behalf of Karla Ann Koepf, whether authorized to do so or not.

         2.     As used herein, the term "documents" shall mean all writings of every kind,
source and authorship, both originals and all nonidentical copies thereof, in your possession,
custody, or control, or known by you to exist, irrespective of whether the writing is one intended
for or transmitted internally by you, or intended for or transmitted to any other person or entity,
including without limitation any government agency, department, administrative, or private
entity or person. The term shall include handwritten, typewritten, printed, photocopied,
photographic, or recorded matter. It shall include communications in words, symbols, pictures,
sound recordings, films, tapes, and information stored in, or accessible through, computer or
other information storage or retrieval systems, together with the codes and/or programming
instructions and other materials necessary to understand and use such systems. For purposes of
illustration and not limitation, the term shall include: affidavits; agendas; agreements; analyses;
announcements; bills, statements, and other records of obligations and expenditures; books;
brochures; bulletins; calendars; canceled checks, vouchers, receipts and other records of
payments; charts or drawings; check registers; checkbooks; circulars; collateral files and
contents; contracts; corporate bylaws; corporate charters; correspondence; credit files and
contents; deeds of trust; deposit slips; diaries; drafts; files; guaranty agreements; instructions;
invoices; ledgers, journals, balance sheets, profit and loss statements, and other sources of
financial data; letters; logs, notes, or memoranda of telephonic or face-to-face conversations;
manuals; memoranda of all kinds, to and from any persons, agencies, or entities; minutes; minute
books; notes; notices; parts lists; papers; press releases; printed matter (including books, articles,
speeches, and newspaper clippings); purchase orders; records; records of administrative,
technical, and financial actions taken or recommended; reports; safety deposit boxes and
contents and records of entry; schedules; security agreements; specifications; statements of bank
accounts; statements; interviews; stock transfer ledgers; technical and engineering reports,
evaluations, advice, recommendations, commentaries, conclusions, studies, test plans, manuals,
procedures, data, reports, results, and conclusions; summaries, notes, and other records and
recordings of any conferences, meetings, visits, statements, interviews or telephone
conversations; telegrams; teletypes and other communications sent or received; transcripts of
testimony; UCC instruments; work papers; and all other writings, the contents of which relate to,
discuss, consider, or otherwise refer to the subject matter of the particular discovery requested.

        3.     In accordance with Tex. R. Civ. P. Rule I 92.7, a document is deemed to be in
your possession, custody or control if you either have physical possession of the item or have a
right to possession of the item that is equal or superior to the person who has physical control of
the item.



Plaintiffs Original Petition and Request for Discovery
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                    4.     "Person": The term "person" shall include individuals, associations, partnerships,
      ----corporations,-and any other-type-of-entity-or-institution whether- formed-for-business-purposes or
             any other purposes.

                     5.      "Identify" or "Identification":

                             (a)     When used in reference to a person, "identify" or "identification" means to
                     state his or her full name, present or last known residence address, present or last known
                     business address and telephone number.

                               When used in reference to a public or private corporation, governmental
                             (b)
      ~----~ntity;-partnership ·ora:ssoci'a:tlon, "identify"-or~"identifrcation'bmeans~ro~state-its~full- -·
                 name, present or last known business address or operating address, the name of its Chief
                 Executive Officer and telephone number.

                            (c)     When used in reference to a document, "identify" or "identification" shall
                     include statement of the following:

                                      (i)    the title, heading, or caption, if any, of such document;

                                     (ii)   the identifying number(s), letter(s), or combination thereof, if any;
                             and the significance or meaning of such number(s), letter(s), or combination
                             thereof, if necessary to an understanding of the document and evaluation of any
                             claim of protection from discovery;

                                    (iii)  the date appearing on such document; if no date appears thereon,
                             the answer shall so state and shall give the date or approximate date on which
                             such document was prepared;

                                     (iv)   the number of pages and the general nature or description of such
                             document (i.e., whether it is a letter, memorandum, minutes of a meeting, etc.),
                             with sufficient particularity so as to enable such document to be precisely
                             identified;

                                     (v)    the name and capacity of the person who signed such document; if
                             it was not signed, the answer shall so state and shall give the name of the person
                             or persons who prepared it;

                                    (vi)   the name and capacity of the person to whom such document was
                             addressed and the name and capacity of such person, other than such addressee, to
                             whom such document, or a copy thereof, was sent; and

                                     (vii) the physical location of the document and the name of its custodian
                             or custodians.

                     6.      "Settlement": as used herein.     means~:------------~~ --~------


-----~P~la~i_n_t1_·f_fs_O~riginal   Petition and Request for Discoverx._ _ _ _ _ _ _ _ _ _ _ _-,_Pa"'-,,·e'"'-s"'·--_ _ _ __
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-·--_------------+~aj- - a.n::-oral-er-written, disclesed 0r.:::unloHscfosecf-agreeillinCbai-ga!Il-;::oontract-,--··
                   settlement, partial settlement, limited settlement, arrangement, deal, understanding, loan
                   arrangement, credit arrangement, contingent settlement, limitation on the amount of
                   liability or judgment, or a promise by or between plaintiff and any defendant or between
                   any defendant herein whereby plaintiff or defendant have in any way released,
                   compromised, in whole or in part, directly or indirectly, or agreed to do so in the future,
                   any of the matters in controversy in this lawsuit whether before, after or during trial or
                   before or after any jury verdict is returned herein or a judgment is entered or rendered
                   herein.

   ~-------~•('Ir)--· any-resolution-of-the-differences-between~the~plaintiff~and~defendant-by----­
                   loan to the plaintiff or any other device which is repayable in whole or in part out of any
                   judgment the plaintiff may recover against defendant.

                           (c)    The term "settlement" shall also include "Mary Carter Agreements" as that
                   term is used under Texas Law.

                   7.     Unless a specific date or dates is set forth in any specific question herein, you are
           directed that each question shall be answered for the period of time up to and including the
           present date.




            Plaintiffs Original Petition and Request for Discovery._ _ _ _ _ _ _ _ _ _ _ _P:....::.a,ge9--
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                                                        INTERROGATORIES

                 I.       Please state the full name, address, telephone number, date of birth, driver's license
                          number, social security number, and occupation of the person answering these
                          interrogatories.

                 ANSWER:


                 2.       State the full name, telephone number, address and your immediate supervisor for your
                          employers for the last ten (I 0) years. Please indicate if you have held any ownership
                          interestin1:hts(the-seerbusiness(es).

                 ANSWER:


                 3.       State the Style, Court and Cause number of any lawsuit you have been a party to and the
                          final disposition of said suit.

                 ANSWER:


                 4.       Please state any and all traffic violations you have had in the ten (I 0) years preceding this
                          collision. Please indicate if you have had your driving license revoked due to any of
                          these violations and the period of time your license was revoked.

                 ANSWER:


                 5.       Please state whether you have had any other motor vehicle accidents in the past ten (10)
                          years. If so, please list the date and location of such accident, the parties involved and a
                          factual description of the accident.

                 ANSWER:


                 6.       List all criminal arrests and/or charges against you, your predecessors, affiliates, or
                          subsidiaries, or divisions by giving the cause number; identities of all accused; court of
                          jurisdiction; description of criminal charges; date and place of arrest; plea made; date of
                          trial and/or plea bargain; whether or not convicted and on what charges; time served; date
                          of release from confinement; whether or not granted pardon or parole, and if so, date
                          pardon granted or parole was or will be successfully completed.

                 ANSWER:
                                                                                   -- ------   ---




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             7.       State in detail what intoxicating beverages, if any, you had consumed and what drugs
                      and/or-medications-you-had-taken for the 24 hour-period-prior-to-the-collision.

             ANSWER:

             8.       State your description of how the collision occurred, including but not limited to the
                      factors which caused and/or contributed to the incident, relative speed and direction of all
                      parties involved, and Defendant's claims of all, if any, acts or omissions by Plaintiff.

             ANSWER:

~--~-~9'-.--Please-state~the~number~and-state-of-issuance"-Of~Befendant1 s~driver's-license; whether----~
                      such license was valid at the time of the collision, and whether Defendant's driver's
                      license has ever been suspended or revoked.

             ANSWER:


             10.      Please list all traffic accidents in which Defendant has been involved within the last five
                      (5) years, including the locations, date of accident, and a brief description of each
                      accident.

             ANSWER:


             11.      Identify all passengers in the vehicle you were operating when the collision occurred.

             ANSWER:


             12.      State the telephone number and cell service provider for each cellular telephone that was
                      in your vehicle at the time of the collision, whether any such cell phone was in use at the
                      time of the collision and to whom you (or your passenger) were speaking to at the time of
                      the collision.

             ANSWER:


             13.      State any electronic devices in use at the time of accident including but not limited to
                      navigation devices, tablets, radios, etc. Exclude only those devices integral to the
                      operation of the vehicle.

             ANSWER:




                                                                                                  - --   Pa~e~~l=l_ _ _ __
- - - - - -Plaintiffs
            --        Original Petition and Reguestfor Discovery
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      14.  For the trip on which you were engaged at the time of the collision, state the point of
------origin,-intended destination,-and-the-location-ofand purpose-for-all-intennediate-stops.

       ANSWER:


       15.    Please state what your automobile insurance coverage was at the time of the accident and
              whether you had any other insurance policies in effect at the time of the auto accident
              covering bodily injuries caused to the other person. If so, please provide all pertinent
              information, including the name of the insurance carrier, the policy number, the type of
              coverage, the amount of coverage and effective dates of said policy.

       ANSWER:


       16.     Please state the names, addresses of the bars, restaurants, residences or any other type of
       establishment or event where you were consuming alcoholic beverages in the twelve (12) hours
       leading up to the accident/incident which forms the basis of this lawsuit.

        ANSWER:




       Plaintiffs-Original Petition and Reques_t_f_o_r_D_is_c_o_v_er~y--------~---'P"""age 12
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                                                      VERIFICATION

              STATE OF TEXAS                                    §
                                                                §
              COUNTY OF DALLAS                                  §

                      BEFORE ME, the undersigned authority, personally appeared KARLA ANN KOEPF,

              who stated, upon oath, that the statements made in the foregoing instrument are within his

              personal knowledge and are true and correct.


                                                             KARLA ANN KOEPF

                      SUBSCRIBED AND SWORN TO BEFORE ME on - - - - - - - - - ' by




                                                             Notary Public, State of Texas




                                                                                                     ----      -- -- - - -




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                                            "EXHIBIT B"

                         PLAINTIFF'S REQUEST FOR PRODUCTION
                                     TO DEFENDANT
                            DEFINITIONS AND INSTRUCTIONS

         I.      As used herein, the terms "you" and "your" shall mean Karla Ann Koepf, and all
 attorneys, agents, and other natural persons or business or legal entities acting or purporting to
 act for or on behalf of Karla Ann Koepf, whether authorized to do so or not.

           2.     As used herein, the term "documents" shall mean all writings of every kind,
- source and authorship, both originals and all nonidentical copies thereof, in your possession,
  custody, or control, or known by you to exist, irrespective of whether the writing is one intended
  for or transmitted internally by you, or intended for or transmitted to any other person or entity,
  including without limitation any government agency, department, administrative, or private
  entity or person. The term shall include handwritten, typewritten, printed, photocopied,
  photographic, or recorded matter. It shall include communications in words, symbols, pictures,
  sound recordings, films, tapes, and information stored in, or accessible through, computer or
  other information storage or retrieval systems, together with the codes and/or programming
  instructions and other materials necessary to understand and use such systems. For purposes of
  illustration and not limitation, the term shall include: affidavits; agendas; agreements; analyses;
  announcements; bills, statements, and other records of obligations and expenditures; books;
  brochures; bulletins; calendars; canceled checks, vouchers, receipts and other records of
  payments; charts or drawings; check registers; checkbooks; circulars; collateral files and
  contents; contracts; corporate bylaws; corporate charters; correspondence; credit files and
  contents; deeds of trust; deposit slips; diaries or drafts; files; guaranty agreements; instructions;
  invoices; ledgers, journals, balance sheets, profit and loss statements, and other sources of
  financial data; letters; logs, notes, or memoranda of telephonic or face-to-face conversations;
  manuals; memoranda of all kinds, to and from any persons, agencies, or entities; minutes; minute
  books; notes; notices; parts lists; papers; press releases; printed matter (including books, articles,
  speeches, and newspaper clippings); purchase orders; records; records of administrative,
  technical, and financial actions taken or recommended; reports; safety deposit boxes and
  contents and records of entry; schedules; security agreements; specifications; statements of bank
  accounts; statements or interviews; stock transfer ledgers; technical and engineering reports,
  evaluations, advice, recommendations, commentaries, conclusions, studies, test plans, manuals,
  procedures, data, reports, results, and conclusions; summaries, notes, and other records and
  recordings of any conferences, meetings, visits, statements, interviews or telephone
  conversations; telegrams; teletypes and other communications sent or received; transcripts of
  testimony; UCC instruments; work papers; and all other writings, the contents of which relate to,
  discuss, consider, or otherwise refer to the subject matter of the particular discovery requested.

         3.     In accordance with Tex. R. Civ. P. Rule 192.7, a document is deemed to be in
 your possession, custody or control if you either have physical possession of the item or have a
 right to possession of the item that is equal or superior to the person who has physical control of
 the item.



 Plaintiffs Original Petition and Request for Discovery
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                    4.      "Person" or "persons" means any natural persons, firms, partnerships,
------:associations,-joint-ventures,- corporations and ·any other-form-of-business-organization-or------
             arrangement, as well as governmental or quasi-governmental agencies. If other than a natural
             person, include all natural persons associated with such entity.

                   5.      Any and all data or information which is in electronic or magnetic form should be
            produced in a reasonable manner.




            Plaintiffs Original Petition and Request for Discovery___________~P,_,,age 15
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                               DOCUMENTS TO BE PRODUCED

1.       All photographs taken in connection with Plaintiffs cause of action in the possession,
         constructive possession, custody or control of Karla Ann Koepf, "Defendant's" attorney
         or anyone acting on "Defendant's" behalf.

2.       All photographs taken of the scene of the accident or the surrounding area of the scene of
         the accident in the possession, constructive possession, custody or control of Karla Ann
         Koepf, "Defendant's" attorney or anyone acting on "Defendant's" behalf.

3.      All photographs taken of "Plaintiff' which may be in the possession, constructive
- - - · posses·sfo11;--custm:ly or control of Kirrla~Ann--Ko·epf;-"Defendant's"·-attorney or anyone~-~~-­
        acting on "Defendant's" behalf.

4.       All pictures, motion pictures, movies, films, or photographic material of any kind taken
         of "Plaintiff' which are in the possession, constructive possession, custody or control of
         Karla Ann Koepf, "Defendant's" attorney or anyone acting on "Defendant's" behalf.

5.       All pictures, motion pictures, movies, films, or photographic material of any kind
         concerning the scene, vehicles, products or the events and happenings made the basis of
         the lawsuit taken before, during or after the accident in question which are in the
         possession, constructive possession, custody or control of Karla Ann Koepf,
         "Defendant's" attorney or anyone acting on "Defendant's" behalf.

6.       All written statements made by the "Plaintiff' in the possession, constructive possession,
         custody or control of Karla Ann Koepf, "Defendant's" attorney or anyone acting on
         "Defendant's" behalf.

7.       All oral statements made by "Plaintiff' which were either recorded or taped on an
         electronic device or recorder which are in the possession, constructive possession,
         custody or control of Karla Ann Koepf, "Defendant's" attorney or anyone acting on
         "Defendant's" behalf.                           ·

8.       A copy of all documents filed with any state, county, city, federal or governmental
         agency, institution or department containing information about "Plaintiff' which are in
         the possession, constructive possession, custody or control of Karla Ann Koepf,
         "Defendant's" attorney or anyone acting on "Defendant's" behalf.

9.       All written reports of inspection, tests, writings, drawings, graphs, charts, recordings or
         opinions of any expert who has been used for consultation and whose work product forms
         a basis either in whole or in part of the opinions of an expert who is to be called as a
         witness. (If the discoverable factual materials have not been received or reduced to a
         tangible form, request is hereby made that Karla Ann Koepf advise "Plaintiff'
         accordingly and reduce such material to a tangible form).

         A curriculum vitae or resume for any consulting expert whose mental jmpressjons or



Plaintiffs Q!jgim11 p_e_tjtlon and   Reque~t f~r   [)iscovery _                    ____J:ag~~l.,6,__
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                    opinions have been reviewed by a testifying expert.

             11.    Any and all copies of investigation documentation, reports and/or memoranda made by or
                    submitted to Karla Ann Koepf, as a result of the accident which has been made the basis
                    of Plaintiffs lawsuit.

             12.    Any and all written communications, including but not limited to letters and/or
                    memorandums, between agents, employees and/or representatives of Karla Ann Koepf
                    that Karla Ann Koepf prepared as a result of the accident made the basis of Plaintiffs
                    lawsuit.

             1·3~opies-of-eslimates;-invoices;-and/or--any~otherwritterr-documentation--which-were
                    prepared as a result of the damage to any vehicles involved in the accident made the basis
                    of Plaintiffs lawsuit.

              14.   Copies of any contracts or agreements between Karla Ann Koepf and any maintenance or
                    repair services in effect on May 31, 2015.

             15.    Copies of receipts for your purchase(s) of alcoholic beverages.

             16.    Copies of any photographs wherein you are consuming alcoholic beverages on the date of
                    the incident in question.

              17.   Copies of Facebook, Instagram, Twitter or any other social media website from the date
                    of the incident in question.




                                                                                                     ----- - - -   -   ----




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                                                "EXHIBIT C"

                        PLAINTIFFS' FIRST REQUEST FOR ADMISSIONS TO
                                DEFENDANT KARLA ANN KOEPF

                                   DEFINITIONS AND INSTRUCTIONS



         I. As used herein, the terms, "you" and "your" shall mean Karla Ann Koepf and all
            attorneys, agents, and other natural persons or business or legal entities acting or
~~~~~~~~urporting to act-fororon°behaif~oH~:arla-Ann-~oepf whether 0to-do 0 so-orcnot~.      ·- - - -

               2. As used herein, the term "collision" shall refer to the collision that occurred on May
                  31, 2015 and that makes the basis of this suit.

               3. "Person" or "Persons" means any natural persons, firms, partnerships, associations,
                  joint ventures, corporation and any other form of business organization or
                  arrangement, as well as governmental or quasi-governmental agencies. If other than a
                  natural person, include all natural persons associated with such entity.




        Plaintiffs Original Petition and Request for Discovery                                   Pagels
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                                                           ADMISSIONS


                   I. The collision was a result of your failure to keep a proper lookout.

               Admit or Deny

                   2. The collision was a result of your failure to keep a safe distance between your vehicle and
                      Plaintiffs.

               Admit or Deny

                   3. That you have been convicted of more than one traffic violation prior to the collision.

               Admit or Deny

                   4. You were intoxicated at the time of the collision.

               Admit or Deny

                   5. You were solely at fault in the collision.

               Admit or Deny

                   6. The Plaintiff did nothing to cause or contribute to the collision.

               Admit or Deny

                   7. The collision was a result of your inattentiveness.

               Admit or Deny

                   8. At the time of the collision, you were operating your cell phone.

               Admit or Deny

                   9. You have caused at least one other accident.

               Admit or Deny

                   10. Plaintiffs damages are a direct result of your negligence.

               Admit or Deny

   ----!-!.- --'Fhat-you were consuming-alcoholic-beverages-at a bar prior to-the-accident in-question.



_ _ _ _ _ _P_la_i_n_ti_ff_s_O~riginal Petition and   Req_u_e_st_~_o_r_D_i_sc_o_v_e_r~y_____________P_a~_e_-_19_-_--_ _ _ __
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               Admit or Deny

               12.    That you were consuming alcoholic beverages at a restaurant or establishment prior to the

               accident in question.

               Admit or Deny

               13.    That you were consuming alcoholic beverages at a residence prior to the accident in

               question.

               Admit or Deny

               14.    That you were driving while intoxicated at the time of the incident in question.

               Admit or Deny

               15.     That you were driving under the influence of illegal narcotic drugs at time of the incident
               of question.

               Admit or Deny

               16.    That you were driving under the influence of narcotic drugs at the time of the incident of
               question.

               Admit or Deny




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